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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                          December 08, 2017
                              UNITED STATES DISTRICT COURT
                                                                                           David J. Bradley, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

JAVIER GUERRA, et al,                               §
                                                    §
             Plaintiffs,                            §
VS.                                                 § CIVIL ACTION NO. 7:17-CV-00299
                                                    §
UNITED PROPERTY & CASUALTY                          §
INSURANCE COMPANY, et al,                           §
                                                    §
             Defendants.                            §

                                                ORDER

           The Court now considers the joint stipulation of dismissal filed in this case.1 Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) provides for dismissal without court order so long as the

stipulation is signed by all parties who have appeared. Here, the stipulation is signed by all

parties who have appeared.2 Thus, the case is DISMISSED WITH PREJUDICE.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 8th day of December, 2017.


                                                     ___________________________________
                                                     Micaela Alvarez
                                                     United States District Judge




1
    Dkt. No. 19.
2
    Id.

1/1
